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The “Wedge Document”: “So What?”

INTRODUCTION

In 1999 an early fundraising proposal for Discovery Institute’s Center for the Renewal
of Science and Culture (CSC) was posted on the Internet by people claiming to have
revealed a secret strategy. Dubbed the “Wedge Document,” this fundraising proposal
soon took on a life of its own, popping up in all sorts of places and eventually
spawning a kind of intellectual urban legend.

Darwinian actevists and seif-identilied “secular humanists” claimed that the “Wedge
Document” provided evidence of a great conspiracy by fundamentalists to establish
theocracy in America and te impose religious orthodoxy upon the practice of science.
One group claimed that the document supplied evidence of a frightening twenty-year
master plan “to have religion control not only science, but also everyday life, laws, and
education.” Barbara Forrest, a Louisiana professor active with a growp called the New
Orleans Secular Humanist Association, similarly championed the document as proof
positive of a sinister conspiracy to abolish civil liberties and unify church and state.
Others have characterized it as an attack on science and an attempt “to replace the
scientific method with belief in God.”

These claims were so confused that for a long time we simply ignored them, content to
enjoy the notoriety that our somewhat hysterical opponents had conferred upon us. Not
since the L960’s, when the Council on Foreign Relations was called a communist front
by the John Birch Society, has a think tank inspired such obsessive interest in its
unreasonable foes.

Recently, however, the paranola on certain websites has reached a fevered pitch and
has begun to spread to mainstream media reports. And Professor Forrest has now
published a whole book with biologist Paul Gross exploring the nefarious aspects of
our supposed conspiracy. So we have decided to set the record straight.

1. BACKGROUND: AIMS OF THE CENTER FOR SCIENCE AND CULTURE

Discovery Institute is a public policy think tank founded in 1990 “to make a positive
vision of the future practical” through transforming long-range research in such fields
as transportation. regionalism, economics, and the environment (see

http: wery.org/). Since #s founding, Discovery has had a special interest in

 
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science and technology and the way in which developments in these domains affect
public policy, economics and culture.

In 1996 Discovery Institute established the Center for the Renewal of Science and
Culture (since named the Center for Science and Culture---CSC). Its main purposes
were ({) to support research by scientists and other scholars who were critical of neo-
Darwinism and other materialistic theories of origins, and to support those who were
developing the emerging scientific theory of intelligent design; (2) to explore the
larger philosophical or world-view implications of the scientific debate about design as
well other philosophically-charged issues in modern science, and (3) to explore the
cultural implications of competing philosophies of science and worldviews. With
respect to (2) and (3), it has been a particular interest of the Center to counter the idea
thal science supports the unscientific pAilosophy of materialism.

From the beginning the Center has focused its attention on scientitic discoveries and
theories that raise larger philosophical. world-view or cultural issues.' For this reason,
Center Fellows examined theories of biclogicai and cosmological origins as well as
theories in the social and cognitive sciences that raise questions about human nature.
More recently, the Center has begun to address bioethical issues arising from
developments in bio-medical technology.

It is in the context of our concern about the world-view implications of certain
scientific theories that our wedge strategy must be understood. Far from attacking
science (as has been claimed), we are instead challenging scientific materlalism-—the
simplistic philosophy or world-view that claims that all of reality can be reduced to, or
derived from, matier and energy alone. We believe that this is a defense of sound
science.

With this m mind, we have supported research that challenges specific theories (such
as neo-Darwtnism, chemical evolutionary theory and various “many worlds”
cosmologies) that provide support for the materialistic vision of a self-existent and

a

self-organizing universe.

We also have supported research that challenges theories (such as behaviorism, strong
Al (artificial intelligence) and other physicalist conceptions of mind) that have
portrayed humans as completely determined animals or machines.

Naturally, many of our scholars and scientists are also working to develop competing
hypotheses and theories. including theortes of mtelligent design and theories that
defend the reality and irreducibility of human agency, responsibility and
CONSCIOUSNESS.

As it happens, many of these fellows think that new discoveries in science either
support, or are consonant with, a “broadly theistic” world-view. The “Wedge

scientific materialism and its favorable implications for theism—known to potential

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supporters, Even so, the case that our scientists have made against neo-Darwinism or
for design is based on scientific evidence. Scientists of various (and no) religious
persuasions have formulated such arguments {see below). Their work stands on its
own.

In any case, the “Wedge Document” artictates a strategy for influencing science and
culture with our ideas through research, reasoned argument and open debate. As our
not-so-secret secret document put it, “without selid scholarship, research and
argument, the project would be just another attempt to indoctrinate instead of
persuade.”

We fail to see anv scandal in this. Nor have we been able see how any fair-minded
person who had actually read the “Wedge Document,” or who had any acquaintance
with our actual work, could attribute to us the nefarious views and motives that
Professor Forrest and others have assigned us. The “Wedge Document” articulates a
plan for reasoned persuasion, not political control.

2. INITIAL CONSIDERATIONS
So let us set the record straight.

Discovery Instifute’s Center for Science and Culture does not support theacracy. We
should not have io say this, but apparently we do.

Discovery Institute's Center for Science and Culture rejects al! attempts to impose
orthodoxies an the practice of science as contrary to the spirit of the scientific
enterprise, Indeed. our fellows have consistently contended for the right of scientists to
follow scientific evidence wherever it leads and they have opposed a priori
methodological restrictions on the mterpretive freedom of scientists,

The Center for Science and Culture is not attackmg science or the sctentific method. It
is challenging the philosophy of scientific materialism and the false scientific theortes
that support it(more on this below).

The Center tor Science and Culture does not have a secret plan to influence science
and culture. le has a highly and intentionally public program for “challenging scientific
materialism and tts destructive cultural legacies”—-the preceding quotation, by the
way. is from our very first staternent of purpose that was prominently and publicly
featured on our website.

Those who doubt these declarations might consider the following facts:
« Far from promoting @ unton between church and state, Discovery Institute

actively supports pluralistic democracy. For several years durmg the 1990s,
Center associate director Dr. John West sponsored a seminar for college

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students, The George Washington Fellows Program, that advocated religious
liberty and the separazion of church and state.

e At the time the “Wedge Document” was being used by Darwinists to stoke
fears about theocracy, te Chairman of Discovery Institute’s Board was
Jewish. The present Chairman says he is “not religious,” and our various
officers and fellows represent an eclectic range of religious views ranging from
Roman Catholic to Presbyterian to agnostic——hardly a fundamentalist cabai!

« Discovery’s Center for Science and Culture advocates a science education
policy that encourages open discussion of controversial issues in science and
rejecis attempts fo msert the Biblical creation story into the public school
science classroom. Center director Stephen Meyer and Center fellow John
Angus Campbell (University of Memphis) have just edited a peer-reviewed
volume with Michigan State University Press defending this “teach the
controversy” approach as most consistent with American traditions of ltberal
tolerance and intellectual and religious pluralism” Their philosophy of public
education, which is classically liberal and self-evidently inconsistent with
theocracy, is a direct expression of the policy of the Center itself.

e Most of the fellows of the Center for Science and Culture are professional
Ph.D.-trained scientists or historians and philosophers of science. Ali have a
high view of science and want to see it strengthened, not “attacked.”

@ Our initial strategy for influencing sctence and culture (which was first
articulated in the “Wedge Decument”) has been repeatedly discussed at
numerous conferences, im book and articles, on our website and m our
brochure. Indeed, much of the offending text from the document had already
appeared on our website and im our Center brochure. (Se much for a secret
conspiracy.) Further, Professor Phillyp E. Johnson of the University of
California at Berkeley published an entire book articulating his version of the
wedge strategy in the year 2000." Yet Barbara Forresi and others have invented
and then hyped a supposed secrecy surrounding the wedge strategy,
characterizing the “wedge of intelligent design” as a “Trojan horse.” At one
point Forrest claimed that the “Wedge Document”’s “authenticity...has been
neither affirmed nor denied by the Discevery institute.” Yet if Professor
Forrest had wanted to know whether the document was authentic, all she had to
do was ask. But she didn’t,

These facts alone suggest that our critics have badly misrepresented us.

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3. SUMMARY AND COMMENT ON KEY PASSAGES

The best way to dispel the hysteria surrounding the wedge strategy is to actually look
at the document in question. The “Wedge Document” simply doesn’t advocate the
views that our detractors attribute to i.

In what follows we cite and discuss the document’s major points and offending
passages, none of which support the claims that our opponents have made about us,
and all of which we continue to affirm. (Text from the “Wedge Document” is
highhghted tn bold and the full text is provided below).

 

 

“The proposition thet human beings are created in the image of Gad is one of the
bedrock principles on which Western civilization is built. Its influence can be
detected in most, if not all, of the West’s greatest achievements, including
representative democracy, human rights, free enterprise, and progress in the arts
and sciences.”

 

Comment: It may be disagreeable to Barbara Forrest, but as an historical matter, the
above statement happens to be true. The idea that humans are created in the image of
God Aas had powerful and positive cultural consequences, not least, on our conception
of human rights as enshrined m the American Declaration of Independence. (“We hold
these truths to be self-evident that all men are endowed by their Creator with certain
unalienable rights...) Only a member of a group like the “New Orleans Secular
Humanist Association” could Gnd anything objectionable here.

(By the way. isnt it strange that a think tank supposedly promoting “theocracy” would
praise “representative democracy” and “human rights” as we do in the “Wedge
Document”?)

Of course, what has aroused the suspicion of our detractors about this passage is ils
implication that we ourselves might believe that humans are created in the mage of
Crod. This, they say. establishes our hidden religious agenda. Entire websites have now
been erected to publicize various evidences of our theistic beliefs'—--as if such belief
itself now constituted a scandal In our contemporary mftellectual culture. We don’t
think that if does, but we would like to spare our loyal opposition any more exhausting
detective work. Here is the truth. whole and nothmg but: Many—--though not all-—-of
our fellows believe in God. Most of them think that this belief has played a positive
influence on the development of Western culture.

So what?

For ail their sleuthing, our critics have failed to grasp some important but obvious
distinctions.

One can believe in God and not want to impase theocracy on our cuiture.
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One can reject theocracy and still think that religious believers, like all other citizens,
have a right to contend for their views in the public square---whether ip science, the
humanities or politics.

A scientist can do excellent scientific research regardless of whether he or she believes
in God. Indeed, some of the greatest scientists in history pursued their scientific
inquiry hecause they believed in God.

A scientist can make arguments for the intelligent design of life or the universe
without making God a premise in the argument-—-that is, a scientist can argue for
intelligent design based upon scientific evidence (as some of our scientists are doing)
without basing that argument on a prior belief in God.

So, again, we ask: where ts the scandal?

 

“Yer a little over a century ago, this cardinal idea {that humans were created in the
image of God] came under wholesale attack by intellectuals drawing on the
discoveries of modern science. Debunking the traditional conceptions of both God
and man, thinkers such as Charles Darwin, Karl Marx, and Sigmund Freud
portrayed humans net as moral and spiritual beings, but as animals or machines
who inhabited a universe ruled by purely impersonal farces and whose behavior and
very thoughts were dictated by the unbending forces of biology, chemistry, and
environment.”

 

Comment: This statement highlights one of the animating concerms of Discovery
Institute’s Center for Science and Culture: the worldview of scientific materialism. We
think this worldview is false; we think that the theories that gave rise to it (such
Darwinism, Marxism and Freudian psychology) are demonstrably false; and we think
that these theories have had deleterious cultural consequences. (Consider, for example,
the eugenics crusade pushed by Darwinist biclogists carly in the twentieth century or
the present denial of personal responsibility endemic in our legal system and
therapeutic culture).

 

 

“Discovery tnstitute's Center... seeks nothing less than the overthrow of materialism
and its cultural legactes.”

 

Comment: We admit it. We think the materialistic world-view that has dominated
Western intellectual life since the late 19" century is false and we want to refute it. We
further want to reverse the influence of such materialistic thinking on our culture.

We certainly are not concealing these views. We are proud of the case that our
scholars are marshallmy agaist scienttfic materialism. Materialism is a dehumanizing
plulesophy that has been used to justify genocide, mfanticide and cugenics, among
other evils. We want to see it discredited.
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Still, we have been misinterpreted.

Some, for example, have claimed falsely that this passage shows that Discovery
Institute is orchestrating an attack on science.

But the document doesn't say, or even imply. that. Instead, we are doing two things.

First, we are challenging the truth of particular scientific theories (such as neo-
Darwinisim and the theory of chemical evolution) using appropriate scientific methods,
canons of reasoning and evaluation and, most importantly, scientific evidence. To say
that challenging a particular scientific theory constitutes an attack on science itself is
to misunderstand science profoundly. Science advances precisely by such challenges.”
Reasoned argument about how best to interpret scientific evidence is, and always has
been, essential io the practice of science-~indeed, in a real sense it is science.

Second, as noted, we are challenging the philosophy of scientific materialism, not
science itself. Our detractors fail to make this critical, but obvious, distinction. We
don’t know why. But we suspect that some scientists have so equated science with
their own materialistic worldview that they regard any challenge to that worldview, or
any challenge to the theories that give it plausibility, as tantamount to an attack on
science tiself,

Others suggest that our discussion of an “overthrow of materialism” shows that
Discovery institute is pursuing an dlegitimate political agenda. But materialism is not
a political party or government. If is a systern of thought. We are not planning to
“overthrow” a political regime by force or otherwise. We are not asking anyone to
impose our perspective on anyone else, or to make our perspective a condition of
empioyment. in contrast, many of our schelars and sctentists have been pressured to
affirm neo-Darwinism and other materialistic ideas as a Condition of their employment
in certain public universities and research centers.

Instead, the “Wedge Decument™ makes clear that we are advancing an intellectual!
challenge to a philosophical perspective and to a set of theories that previously have
made that perspective seem credibie. The kind of “overthrow” we are seeking is an
intellectual one, a shift in perspective that can only be achieved by research, writing
and reasoned argument —-- as the “Wedge Document” itself makes clear. Our
intellectual interlocutors may disagree with our perspective (and we respect their right
to do sa), but we do not see how they can reasonably object to our methods or to the
facts that we have a plan to persuade and mfluence science and culture with our ideas.

And, who doesn’t try to persuade others with their ideas? Certainly, any group that
contends for a pemt of view m the public square---whether the Darwin-only lobby at
the National Center for Science Education, the American Civil Liberties Union, the
American Association for the Advancement of Science or the New Orleans Secular
Humanist Assocration——wants fo see its ideas influence others. And most such groups

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have plans about how they want fo achieve such influence. So again: Where is the
scandal?

 

“Without solid scholarship, research and argument, the project would be just
another attempt to indoctrinate instead of persuade.”

 

Comment: Precisely because we affirm the importance of open debate and reasoned
argument---and because we reject attempts to manipulate or indoctrinate---the “Wedge
Decument™ identified the “essential” component of our program as support of
scholarly “research. writing and publication.” The document makes clear that the
primary goal of Discovery Institute’s program in this area is to support scholars
working in scientific and philosophical fieids so they can engage in research and
publication. Accordingly, the largest program in the Center’s budget has been the
awarding of research fellowships to scholars in such fields as biology, biochemistry,
physics, mathematics, and philosophy and history of science. These fellowships have
been granted to enable our scholars to engage in research and writing.

This passage underscores our commitment to influencing science and culture by
reasoned persuasion, not indoctrination or intimidation. We don’t quite know how we
could be misunderstood on this point. But we wonder. Could it be that many
intellectuals in the universities are themselyes so accustomed to imposing their own
ideological perspective on their coleagues—-through tenure committees, the peer-
review process and the granting system-—that they reflexively assume that anyone
challenging their intellectual dominance must intend to use the same tactics as they
themselves have used?

publicized.”

 

Comment: It’s shocking but true---Discovery Institute actually promised to publicize
the work of iis scholars 1 the broader culture. What's more, we expressed our desire
to engage our Darwinist colleagues m academic debates at colleges and universities!
We are happy to say that we stil! beheve im vigorous and open discussion of our ideas,
and we still do whatever we can io publicize the work of those we support. We are
especially happy about the public debates and university conferences and symposia in
which our fellows have participated, though our detractors often avoid such debates.

 

“Discovery Institute's Center... wants to reverse the stifling dominance of the
materialist worldview, and to replace it with a science consonant with Christian and
theistic convictions.”

Camment: For many the scandal of the “Wedge Document” is nothing more and
nothing less than its mention of “Christian and theistic convictions” and our stated

intention fo support scientific research that is “consonant” with such convictions.

But why should this be upsettmg?
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Please note first, that “consonant with” means “in harmony with” or “consistent with.”
It does not mean. the “same as.” Recent developments in physics, cosmology,
biochemistry, and related sciences may lead to a new harmony between science and
religion. Many of us happen to think that they will, and we are not alone in that. But
that doesn’t mean we think religion and science are the same thing. We don't. Nor do
we want to inipose a religious agenda on the practice of science.

This passage instead was referring to our conviction that science, rather than
supporting a materialistic philosophy. is at least consistent with theistic belief,
including Christian belief. In fact, some of our fellows actually go further than this.
They think that new developments in science may actually support a theistic world-
view or have “theistic implications,” even though they do not think that science can
“prove” the existence of God or specific religious doctrines.

Two of our fellows, William A. Dembski and Stephen C. Meyer, have developed these
distinctions in some carefully argued philosophical essays.° We commend the essays
to those who want to develop a responsible understanding about the relationship
between science and religious belief. Dembski and Meyer have argued that certain
evidences from the natural worid provide what they call “epistemic support” for
theism even though (we have to repeat) such evidences can't “prove” the existence of
God or a spectfic religion.

These are important philosophical distinctions and we can understand how some of
our critics might have misunderstood us and our intellectual agenda, especially if their
first encounter with our Heas was reading the “Wedge Document” out of context on a
hostile atheistic website. Nevertheless, thai some of our fellows think some aspects of
science may support theistic beltef, or that science is consonant with theism, does not
constitute a threat to the practice of science. Nor is ita kind of a modern thought
ermac. In fact many of the founders of modern science —-such as Boyle, Kepler and
Newton—held precisely this same view.

In any case, the “Wedge Document” does not propose replacing “sctence” or the
“scientific method” with “God” or “religion,” as one reporter claimed. Still less does it
advocate imposing 4 particular conclusion on scientists as a condition of their
practicing, science-~something that would be absurd. Instead, it advocates open debate
and argument (see below). Proponents of intelligent design have long insisted’ that all
scientists must be free to follow evidence wherever they think its ieads. It happens that
many (though not all) of our fellows think that a considerable body of evidence now
points to the intelligent design of life and the universe. Most of these scientists and
scholars think that this evidence supports, or is at least consonant with, a theistic view
of the world. The “Wedge Document” does nothing more sinister than announce our
intention to support the research of such scientists-—among others.

Even sq, our critics insist that the “Wedge Document” shows that the case for
intelligent design is wiscientific because itis based on religious belief. But here again
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they fail to grasp an obvious distincfion——the distinction between the implications of a
theory and the fusis for a theory.

Contemporary theories of intelligent design are not bused upon theistic beliefs. They are
based upon scientific evidence and analyses. In his groundbreaking book, Darwin's Black
Sox, Lehigh Universtiy biochemist Michael Behe bases his case for design on the
presence of the “irreducibly complex” miniature motors and circuits now found in cells.”
Center fellows Stephen Meyer (philosopher of science)’, Charles Thaxton (chemist}'” and
Dean Kenyon (biophysicist)'' have made a case for intelligent design bused upon the
presence of encoded information i DNA. Other Center scientists and philosophers are
now making arguments for intelligent design based upon evidence of the “fine tuning” of
the laws of physics and/or the parameters that make Earth friendly to life and scientific
discovery.”

These arguments have evidential, not theological premises. As CSC director Stephen
Meyer has said, intelligent design is “an inference from biological data, not a deduction
from religious authority.”’* Or, as geneticist Michael Denton has observed, the
contemporary argument for design “may have religious implications, but if does not
depend on religious presuppositions.”"*

Thus, someone cannot refute design arguments simply by asserting that such arguments
are “religiously-motivated.” In faci, many contemporary design arguments have been
advanced by scientists (such as Paul Davies, Michaei Denton and John Leslie} who are
not personally religious. But even if this were not the case, science-based design
arguments would still need to be assessed independently of any consideration ef matives
or personal beiefs. Motives don’t matter in science. Evidence does.

Consider a parallel example. Noted Darwinist Richard Dawkins has praised Darwin’s
theory because it allows one “to be an intellectually fulfilled atheist.”'" In Dawkins’s
view Darwinism explains “the appearance of design” without having to invoke a
designer-~-something as an atheist he wants ta avoid. Does Dawkins’s anti-religious
motive disqualily his scientific argument against design? Does tt disqualify Darwinian
evolution from consideration as a scientific theory? Clearly not. But then the same ruie
should apply when cons:dering the case for design. It’s not what motivates a scientist's
argument that determines its validity: it’s the quality of the evidence and analysis that the
scientist ases to support the argument. .

4, WHERE WE STAND

And this is where we want to leave the matter. In the end, the “Wedge Document,” like
the motives of an. individual scientist, 1s wrelevant to assessing the questions that we are
raising ard the arguments that we are making. It is now long past time that our
intellectual opponents addressed the evidential case that we are making and the
challenges that now face neo-Darwinism and other similarly simplistic materialistic
theortes. The nearly obsessive focus in some quarters on our sources of funding. our
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motivations, and our allegedly simster plans betrays a deep intellectual insecurity in the
Darwinist community. Those who have scientific arguments make them. Those who da
not, change the subject and speculate about motives, conspiracies and personal
associations. We talk about evidence and ideas: cur opponents want to talk about us.
Indeed, our Darwinist colleagues and some sympathizers in the media have developed a
penchant for avoiding discussion about real scientific and philosophical issues. Instead.
they have come to rely upon ad hominem attacks, motive-mongering, conspiracy theories,
guilt by association and other tactics of intimidation-—thus distracting attention from a
failing system of thought.

Neo-Darwintsm is a theory in deep crisis. It envisions, among other implausible
scenarios, the transformation of complex functionally integrated living systems into other
compiex and different functionally-integrated systems with no intervening functional
Joss---something for which we have no anslogue in our own high-tech world and
something thal, from an engineering point of view, lacks plausibility on is face. Neo-
Darwinism simtlarly relies on an undirected mechanism that can only operate after the
fact of an advantageous biological change. Natural selection “selects” for functional
advantage. But with the advent of modern biochemistry, embryology, physiology and
molecular biology. scientists now realize that the structures that confer functional
advantage on organisms are exquisitely complex and finely-tuned both spatially and
temporally. Living things depend upon hugely improbable arrangements of matter:
information-rich genes, complex three-dimensionally specified proteins, functionally-
integrated mojecular machines and hierarchically-organized physiological systems and
body plans. Yet. according to the logic of orthadox neo-Darwinian theory, these entities
and systems must arise before natural selection can act to preserve them. But if this is so,
how do these complex biological systems, subsystems and components originate in the
first place?

The neo-Darwinian answer to this question-—-+random mutations——now lacks all
credibility in the face of the astronomical improbabilities associated with the structures
that such mutations must build. Chemical evolutionary theories of the origin of life
have likewise failed to explain how the complexity and information necessary to the
very first life might have arisen from non-living chemicals. Advocates of Strong Al
(artificial intelligence) have for their part failed to give a satisfactory account of the
origin and nature of human cognition; we are not “computers made of meat” as strong
Al advocate Marvin Minsky has asserted. Al advocates have uiterly failed to reduce
the functioning of the human mind to a “computational algorithm,” nor do they show
promise of doing so anytime soon. We could go on. But suffice to say that the theories
that have supported scientific materialism are increasingly and demonstrably bankrupt.

Against this intellectual backdrop, fellows of the Center for Science and Culture are
researching and developing new theories of origins and deeper and richer
understandings of human nature and consciousness. We think that our ideas will stand
the test of experience. And we invite careful and rigorous scrutiny of our work on that
basis. We reject-—although we find strangely amusing-—-attermpts to dismiss our work
on the basis of factors that are irrelevant to assessing the theories and arguments that
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we are developing. We regard the recent paranota and near-panic over a now nearly
five year-old fund-raismg document as precisely one such irrelevancy.

5. WHAT THE DOCUMENT ACTUALLY SAYS (FULL TEXT)

NOTE: The five-year plan described in the following document is now out of date. Many
of its goals were reached or exceeded, but some were not.

CENTER FOR THE RENEWAL OF SCIENCE AND CULTURE
DISCOVERY INSTITUTE (1999)

INTRODUCTION

The proposition that human beings are created in the image of God is one of the bedrock
ptinciptes on which Western civilization was built. Its influence can be detected in most,
if not all, of the West's greatest achievements, including representative democracy,
human rights, free enterprise, and progress in the arts and sciences.

Yet a little over a century ago, this cardial idea came under wholesale attack by
intellectuals drawing on the disceveries of modern science, Debunking the traditional
conceptions of both God and man, thinkers such as Charles Darwin, Karl Marx, and
Sigmund Freud portrayed humans not as moral and spirttual bemgs, but as animals cr
machines who inhabited a universe ruled by purely irapersonal forces and whase
behavior and very thoughts were dictated by the unbending forces of biolagy, chemistry,
and environment. This materialistic conception of reality eventually infected virtually
every area of our culture. from politics and economics to [iterature and art.

The cultural consequences of this trramph of materialism were devastating. Materialists
denied the existence of objective moral standards, claiming that environment dictates our
behavior and beliefs. Such moral relativism was uneriticaily adopted by much of the
social sciences, and it still under girds much of moder economics, political science,
psychology and sociology,

Materialists alsa undermined personal responsibtlity by asserting that human thoughts
and behaviors are dictated by our biology and environment. The results can be seen in
modern approaches io criminal justice, product liability, and welfare. In the materialist
scheme of things, everyone is a victim and no one can be held accountable for his or her
actions.

Finally, materialism spawned a virulent strain of utopianism. Thinking they could
engineer the perfect soctety through the application of scientific knowledge, materialist
reformers advocated coercive government programs that falsely promised fo create
heaven on earth.
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Discovery Institute's Center for the Renewal of Science and Culture [pow named the
Center for Science and Culture] seeks nothing less than the overthrow of materialism and
its cultura! legacies. Bringing together leading scholars from the natural sciences and
those from the humanities and social sciences, the Center explores how new
developments in biology, physics and cognitive science raise serious doubts about
scientific materialism and have re-opened the case for a broadly theistic understanding of
nature. The Center awards fellowships for original research, holds conferences, and briefs
policymakers about the opportunities for life after materialism.

The Center is directed by Discovery Sentor Fellow Dr. Stephen Meyer. An Associate
Professor of Philosophy at Whitworth College, Dr. Meyer holds a Ph.D. in the History
and Philosophy of Science from Cambridge University. He formerly worked as a
geophysicist for the Atlantic Richfield Company.

THE WEDGE PROJECTS

Phase I. Scientific Research, Writing & Publication
Individual Research Fellowship Program

Paleontology Research pregram (Dr. Paul Chien et al.)
Molecular Biology Research Program (Dr. Douglas Axe et al.)

Phase IL Publicity & Opinion-making
Book Publicity

Opinion-Maker Conferences
Apologetics Semimars

Teacher Traiming Program

Op-ed Fellow

PBS (or other TV) Co-production
Publicity Materials / Publications

Phase fH. Cultural Confrontation & Renewal

Academic and Scientific Challenge Conferences

Potential Legal Action for Teacher Traming

Research Fellowship Program: shift to social sciences and humanities

FIVE YEAR STRATEGIC PLAN SUMMARY

The social consequences of materialism have been devastating. As symptoms, those
consequences are certainly worth treating. However. we are convinced that in order to
defeat materialism, we must cut if off at rts source. That source is scientific materialism.
This is precisely our strategy. [f we view the predominant materialistic science as a giant
tree, our Strategy is intended to function as a "wedge" that, while relatively small, can
split the trunk when applied at Hts weakest points. The very beginning of this strategy, the
“thin edge of the wedge." was Phillip Johnson’s critique of Darwinism begun in 1991 in

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Darwinism on Trial, and continued in Reason in the Balance and Defeating Darwinism
by Opening Minds. Michael Behe's highly successful Darwin's Black Bex followed
Johnson's work. We are building on this momentum. broadening the wedge with a
positive scientific alternative to materialistic scientific theories, which has come to be
called the theory of mtelligent design (JD). Design theory promises to reverse the stifling
dominance of the materialist werldview, and to replace it with a science consonant with
Christian and theistic convictions.

The Wedge strategy can be divided into three distinct but interdependent phases, which
are roughly but not strictly chronological. We believe that, with adequate support, we can
accomplish many of the objectives of Phases | and HH in the next five years (1999-2003),
and begin Phase HL (See "Goals/ Five Year Objectives/Activities").

Phase [: Research, Writing and Publication
Phase U: Publicity and Opinion-making
Phase fT: Cultural Confrontation and Renewal

Phase | is the essential component of everything that comes afterward. Without solid
scholarship. research and argument, the project would be just another attempt to
indoctrinate instead of persuade. A lesson we have learned from the history of science is
that it is unnecessary to outnumber the opposing establishment. Scientific revolutions are
usually staged by an mitially small and relatively young group of scientists who are not
blinded by the prevading prejudices and who are abie to do creative work at the pressure
points, that ts, on those critical issues upon which whole systems of thought hinge. So, in
Phase | we are supporting vital writrag and research at the sites most likely to crack the
materialist edifice,

Phase I. The primary purpose of Phase II is fo prepare the popular reception of our tdeas.
The best and truest research can languish unread and unused unless it is properly
publicized. For this reason we seek to cultivate and convince Influential individuals in
print and broadcast media. as well as think tank leaders, scientists and academics,
convressional staff, talk show bosts, college and seminary presidents and faculty, future
talent and potential academic allies. Because of his long tenure in politics, journalism and
public policy, Discovery President Bruce Chapman brings to the project rare knewledge
and acquaintance of key op-ed writers, journalists, and political leaders. This combination
of scientific and scholarly expertise and media and political connections makes the
Wedge unique. and also prevents it from being “merely academic." Other activities
include preduction of a PBS documentary on mtelligent design and its implications, and
popular op-ed publishing. Alongside a focus on influential opinion-makers. we also seek
to build up a popular base of support among our natural constituency, namely, Christians.
We will do this primarily through apologetics semimars. We intend these to encourage
and equip believers with new scientific evidences that support the faith, as well as to
“popularize” our tdeas m the broader culture.

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Phase HI. Once our research and writing have had trme to mature, and the public
prepared for the reception of design theory, we will move toward direct confrontation
with the advocates of materialist science through challenge conferences in significant
academic settings. We will also pursue possible legal assistance in response to resistance
to the integration of design theary into public school science curricula. The attention,
publicity, and influence of desiga theory should draw scientific materialists into open
debate with design theorists, and we will be ready. With an added emphasis to the social
sciences and humanities, we will begin to address the specific social consequences of
materialism and the Darwinist theory that supports it in the sciences.

GOALS

Coverning Goals
« To deleat scientific materialism and its destructive moral, cultural and political
legacies,
* To replace materialistic explanations with the theistic understanding that nature
and human beings are created by God.

Five Year Goals
» To see intelligent design theory as an accepted alternative in the sciences and
setentific research being done from the perspective of design theory.
= To see the beginning of the influence of design theory in spheres other than
natural science.
« To see major new debates in education, life issues, legal and personal
responsibility pushed to the front of the national agenda.

Twenty Year Croaés
« To see intelligent design theory as the dommant perspective in science.
= To see design theory application in specific fields. including molecular biology,
biochemistry, paleontology, physics and cosmology in the natural sciences,
psychology, ethies, politics, theology and philosophy in the humanities; to see its
mfivence in the fine arts.
*» To see design theory permeate our religious, cultural, moral and political life.

FIVE YEAR OBJECTIVES

1. A major public debate between design theorists and Darwinists (by 2603)

2. Thirty published books on design and its cultural implications (sex, gender issues,
medicine, law, and religion)

3, One hundred scientific, academic and technical articles by our fellows

4. Significant coverage in national media:

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Cover story an major news magazine such as Time or Newsweek

PBS show such as Nova treating design theory fairly

Regular press coverage on developments in design theory

Favorable op-ed pieces and celumns on the design movement by 3rd party media

5. Spiritual & cultural renewal:

e Mainline renewal movements begin to appropriate msights from design theory,
and to repudiate theologies influenced by materialism.

« Major Christian denamination(s) detend(s) traditional doctrine of creation &
repudiate(s} Darwinism.

® Seminaries increasingly recognize & repudiate naturalistic presuppositions

e Positive uptake mn public opinion polls on issues such as sexuality, abortion and
belief in God.

6. Ten states begin to rectify ideological tmbalance in their seience curricula & include
design theory,

7, Scientific achievements:
e An active design movement in Israel, the UK and other influential countries
outside the US
e Ten CRSC Fellows teaching at major universities
Two universities where design theory has become the dominant view
e Design becomes a key concept in the social sciences Legal reform movements
base legislative proposals on design theory

ACTVITIES

(L) Research Fellowship Program (for writing and publishing)

(2) Frant line research funding at the “pressure points" (e.g., Paul Chien’s Chengpang
Cambrian Fossil Find in paleontology, and Doug Axe's research laboratory in molecular
biology}

(3) Teacher traming

(4) Academic Conferences

(5) Opinion-maker Events & Conferences

(6) Alliance-building, recruitment of future scientists and leaders, and strategic
partnerships with think tanks, social advocacy groups, educational organizations and

institutions. churches, religious groups, foundations and media outlets

(7) Apologetics seminars and public speaking
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(8) Op-ed and popular writing

(9) Documentaries and other media productions
(10) Academic debates

(11) Fand Raising and Development

(12) General Administrative sapport

THE WEDGE STRATEGY PROGRESS SUMMARY
Books

William Dembski and Pau) Nelson, two CRSC Fellows, will very soon have books
published by major secular university publishers, Cambridge University Press and The
University of Chicago Press, respectively. (One critiques Darwinian materisiism, the
other offers a powerful alternative.)

Nelson's book. On Common Descent, is the seventeenth book in the prestigious
University of Chicago "Evolutionary Monographs" series and the first to critique aeo-
Darwinism. Dembski's book, The Design Inference, was back-ordered in Jume, two
months prior to its release date.

These books follow hard on the heals of Michael Behe's Darwin's Black Box (The Free
Press) which is now in paperback after nine print runs in hard cover. So far it has been
translated into six foreign languages. The success of his book has led to other secular
publishers such as McGraw Hill requesting future titles from us. This is a breakthrough.

InterVarsity will publish our large anthology, Mere Creation (based upon the Mere
Creation conference) this fall, and Zondervan is publishing Maker of Heaven and Earth:
Three Views of the Creation-Evolution Controversy, edited by fellows John Mark
Reynoids and J.P. Moreland.

McGraw Hill solicited an expedited proposal from Meyer, Dembski and Nelson on their
book Uncommon Descent. Finally, Discovery Fellow Ed Larson has won the Pulitzer
Prize for Summer for the Gods, his retelling of the Scopes Trial, and Inter Varsity has just
published his co-authored attack on assisted suicide, A Different Death.

Academic Articles

Our fellows recently have been featured or published articles in major scientific and
academic journals m The Proceedings to the National Academy of Sciences. Nature, The
Scientist. The American Biology Teacher, Biochemical and Biophysical Research
Communications, Biochemistry, Philosophy and Biology, Faith & Philosophy, American

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Philosophical Quarterly, Rhetoric & Public Affairs, Analysis, Book & Culture, Ethics &
Medicine. Zygon, Perspectives on Science and the Christian Faith, Religious Studies,
Christian Scholars' Review. The Southern Journal of Philosophy, and the Journal of
Psychology and Theology. Many more such articles are now in press or awaiting review
at major secular journals as a result of our first round of research fellowships. Our own
journal, Origins & Design, continues to feature scholarly contributions from CRSC
Fellows and other scientists.

Television and Radio Appearances

During 1997 our fellows appeared on numerous radio programs (both Christian and
secular} and five nationally televised programs, TechnoPolitics, Hardball with Chris
Matthews, Inside the Law, Freedom Speaks, and Firing Line. The special edition of
TechnoPolitics that we produced with PBS in November elicited such an unprecedented
audience response that the producer Neil Freeman decided to air a second episode from
the “out fakes.” Fis enthusiasm for our intellecttal agenda helped stimulate a special
edition of William F. Buckley's Firtng Line, featuring Phillip Johnson and two of our
fellows, Michael Behe and David Berlinski. At Ed Atsinger's invitation, Phil Johnson and
Steve Meyer addressed Salem Communications’ Talk Show Host conference m Dallas
last Novernber. As a resulf, Phil and Steve have been interviewed several times on Salem
talk shows across the country. For example, in Inuly Steve Meyer and Mike Behe were
interviewed for two hours on the nationally broadcast radio show Janet Parshall’s
America, Canadian Public Radio (CBC) recently featured Steve Meyer on their Tapestry
program. The episode, “God & the Scientists,” has aired all across Canada. And in April,
William Craig debated Oxford atheist Peter Atkins in Atlanta before a large audience
(moderated by William F. Buckley), which was broadcast live via satellite link, local
radio, and infernet “webcast.”

Newspaper and Magazine Articles

The Firing Line debate generated positive press coverage for our movement in, of all
places, The New York Times, as well as a column by Bill Buckley. In addition, our
fellows have published recent articles & op-eds in both the secular and Christian press,
inchuding, for example, The Wall Street Journal, The New York Times, The Washington
Times, National Review, Commentary, Touchstone, The Detroit News, The Boston
Review. The Seattle Post-Intelligencer, Christianity Toady, Cosmic Pursuits and World.
An op-ed piece by Jonathan Wells and Steve Meyer is awaiting publication in the
Washington Post. Their article criticizes the National Academy of Science book Teaching
about Evolution for its selective and idealogical presentation of scientific evidence.
Similar articles are in the warks,

 

' By the wav. we do not think that all scientific research raises such worldview questions, Much
experimental or “bench” science concerns more narrowly-focused and philosophically-neutral questions
about the composition, structure and behavior of physical or biological systems.

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inteligeni design featuring many Discovery fellows had also previously made religious films about the
Bible. This is a version of the tactic of guilt by association-~if, that is, making films about the Bible now
mikes one culpable im our society.

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